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06                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
07                                       AT SEATTLE

08 UNITED STATES OF AMERICA,              )              CASE NO. CR04-256-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )              SUMMARY REPORT OF U.S.
                                          )              MAGISTRATE JUDGE AS TO
11   JASON MICHAEL ARMSTRONG              )              ALLEGED VIOLATIONS
                                          )              OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          An evidentiary hearing on supervised release revocation in this case was scheduled before

15 me on February 3, 2006. The United States was represented by AUSA Leonie G.H. Grant and

16 the defendant by Allen R. Bentley . The proceedings were digitally recorded.

17          Defendant had been sentenced on or about October 15, 2004 by the Honorable Ricardo

18 S. Martinez on a charge of Bank Larceny (2 counts), and sentenced to 3 months custody, 1 year

19 supervised release.

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant submit to search, pay restitution in the amount of $1,485.96, provide access to

22 financial information, notify probation officer of any material change in financial circumstances that

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 might affect ability to pay restitution, and pay 10% of gross monthly household income toward

02 total criminal monetary penalty. (Dkt. 109).

03          In an application dated January 4, 2006 (Dkt 130), U.S. Probation Officer Monique D.

04 Neal alleged the following violations of the conditions of probation:

05          1.      Failing to submit a truthful and complete written report within the first five days

06 of each month, in violation of standard condition #2.

07          2.      Failing to notify the probation officer at least 10 days prior to any change in

08 residence, in violation of standard condition #6.

09          3.      Failing to pay restitution in the amount of $1,485.96 during his term of supervised

10 release in violation of special condition that he pay restitution in the amount of $1,485.96 during

11 the period of supervision.

12          Defendant was advised in full as to those charges and as to his constitutional rights.

13          Defendant admitted alleged violations 2 and 3 and waived any evidentiary hearing as to

14 whether they occurred. The government moved to dismiss violation 1. (Dkt. 138).

15          I therefore recommend the Court find defendant violated his supervised release as alleged

16 in violations 2 and 3, that the Court dismiss violation 1, and that the Court conduct a hearing

17 limited to the issue of disposition. The next hearing will be set before Judge Martinez.

18          Pending a final determination by the Court, defendant has been released on supervision.

19          DATED this 3rd day of February , 2006.



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21                                                 Mary Alice Theiler
                                                   United States Magistrate Judge
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 cc:    District Judge:         Honorable Ricardo S. Martinez
          AUSA:                   Leonie G.H. Grant
          Defendant’s attorney:   Allen R. Bentley
02        Probation officer:      Monique D. Neal
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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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